18-13359-shl Doc 305 Filed 12/14/18 Entered 12/14/18 18:14:37 Main Document
   Presentment Date and Time: DecemberPg19,12018
                                             of 3 at 11:00 a.m. (prevailing Eastern Time)
           Objection Deadline: December 19, 2018 at 10:00 a.m. (prevailing Eastern Time)




COOLEY LLP
1114 Avenue of the Americas
New York, New York 10016
Telephone: 212-479-6000
Seth Van Aalten
Ian Shapiro
Robert Winning
Nicholas Flath

Proposed Counsel for the Official Committee
Of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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                                       :
In re:                                                         Chapter 11
                                       :
REPUBLIC METALS REFINING                                       Case No. 18-13359 (SHL)
CORPORATION, et al.,1                  :
                                                               (Jointly Administered)
                 Debtor,                                  :

                                       :
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               NOTICE OF PRESENTMENT OF ORDER GRANTING
        THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS' MOTION
            FOR AN ORDER PURSUANT TO BANKRUPTCY RULE 2004
        AUTHORIZING DISCOVERY OF THE DEBTORS AND THIRD PARTIES




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
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        PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the

“Committee”), through its undersigned proposed counsel, will present the attached proposed

order granting the Official Committee of Unsecured Creditors' Motion for an Order Pursuant to

Bankruptcy Rule 2004 Authorizing Discovery of the Debtors and Third Parties (the “Order”) to

the Honorable Sean H. Lane of the United States Bankruptcy Court for the Southern District of

New York, for signature and entry on December 19, 2018 at 11:00 a.m.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the proposed Order

must: (i) be made in writing, (ii) state with particularity the grounds therefore, (iii) be filed in

accordance with the electronic filing procedures for the United States Bankruptcy Court for the

Southern District of New York, with proof of service, with a courtesy copy delivered to the

Chambers of the Honorable Sean H. Lane, One Bowling Green New York, New York 10004;

and (iv) served upon (a) proposed counsel for the Committee, Cooley LLP, 1114 Avenue of the

Americas, New York, New York 10016 (Attn: Seth Van Aalten, Esq. and Ian Shapiro, Esq.) (b)

the Debtors, c/o Republic Metals Refining Corporation, (Attn: Scott Avila); (c) the attorneys for

the Debtors, Akerman LLP, 2001 Ross Avenue, Suite 3600, Dallas, TX 75201 (Attn: Andrea S.

Hartley, Esq. and Katerhine C. Fackler, Esq.); (d) the Office of the United States Trustee for the

Southern District of New York, U.S. Federal Office Building, 201 Varick Street, Suite 1006,

New York, New York 10014 (Attn: Shannon Scott, Esq.); so as to be received no later than

10:00 a.m. (prevailing Eastern Time) on December 19, 2018 (the “Objection Deadline”).

        PLEASE TAKE FURTHER NOTICE that if no response or objections are received by

the Objection Deadline, the proposed order may be signed without a hearing.

        PLEASE TAKE FURTHER NOTICE that if a written objection is timely filed and

served by the Objection Deadline, a hearing may be held before the Honorable Sean H. Lane, at




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a date to be scheduled by the Court, upon such additional notices as the Court may direct. The

moving and objecting parties are required to attend the hearing, and failure to attend in person or

by counsel may result in relief being granted or denied upon default.


Dated: December 14, 2018                              COOLEY LLP
       New York, New York
                                                      /s/ Ian Shapiro
                                                      Seth Van Aalten
                                                      Ian Shapiro
                                                      Robert Winning
                                                      Nicholas Flath
                                                      1114 Avenue of the Americas
                                                      New York, New York 10036
                                                      Tel.: 212-479-6000
                                                      Fax: 212-479-6275
                                                      svanaalaten@cooley.com
                                                      ishapiro@cooley.com
                                                      rwinning@cooley.com
                                                      nflath@cooley.com
                                                      Proposed Counsel for the Official
                                                      Committee of Unsecured Creditors




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